Case 2:22-cv-03156-DMG-RAO Document 45-4 Filed 09/29/22 Page 1 of 3 Page ID #:287



      LAW OFFICES OF DAVID A KAUFMAN, APC
    1 David A Kaufman SBN 284488
      3162 Via Alicante Unit E
    2 La Jolla, CA 92037
      Tel. (619) 865-8648
    3 Email: attorney@lawofficesofdavidkaufman.com
      Attorney for Plaintiff
    4 CAROLINE WICHMAN
    5                        UNITED STATES DISTRICT COURT
    6                      CENTRAL DISTRICT OF CALIFORNIA
    7    CAROLINE WICHMAN,                     Case No.: 2:22-cv-03156
         individually and as successor in      Complaint Filed: 05/09/22
    8    interest to Edward Zamora Giron II,   Judge: Hon. Dolly M. Gee
         deceased,
    9                                          CERTIFICATE OF SERVICE OF
                            Plaintiffs,        MOTION FOR LEAVE TO
   10                                          WITHDRAW AS COUNSEL FOR
         v.                                    PLAINTIFF CAROLINE WICHMAN
   11
         CITY OF SAN LUIS OBISPO, a            Pursuant to Local Rule L.R. 83-2.3.2
   12    municipal entity; COUNTY OF
         SAN LUIS OBISPO, a municipal          Hearing Details
   13    entity; BRYAN AMOROSO, an             Friday, October 28, 2022
         individual; STEVE OROZCO, an          9:30 am
   14    individual; IAN PARKINSON, an
         individual; RICK SCOTT; and           United States Courthouse
   15    DOES 1-25, inclusive,                 350 West 1st Street
                                               Los Angeles, CA, 90012
   16                       Defendants.        Courtroom 8C, 8th Floor
   17                                          https://www.cacd.uscourts.gov/honorable-
                                               dolly-m-gee
   18
   19
                                  CERTIFICATE OF SERVICE
   20
              I certify that on September 28, 202, the document(s) entitled: NOTICE OF
   21
        MOTION AND MOTION TO BE RELIVED AS COUNSEL;
   22
        MEMORANDUM OF POINTS AND AUTHORITIES; ATTORNEY
   23
        DECLARATION; and PROPOSED ORDER, in Case No. 19cv2426-DMS WVG
   24
        was served on the following parties.
   25
   26
   27
   28           CERTIFICATE OF SERVICE OF MOTION FOR LEAVE TO
                     WITHDRAW AS COUNSEL FOR PLAINTIFF
                             Case No: 2:22-cv-03156
Case 2:22-cv-03156-DMG-RAO Document 45-4 Filed 09/29/22 Page 2 of 3 Page ID #:288



    1 ☒BY EMAIL: My electronic service address is
    2 attorney@lawofficesofdavidkaufman.com. Based on a written agreement of the
    3 parties, they will accept service by electronic means, I sent such document(s) to the
    4 email address(es) listed above or on the attached Service List. Such document(s)
    5 was scanned and emailed to such recipient(s) and email confirmation(s) will be
    6 maintained with the original document in this office indicating the recipients’ email
    7 address(es) and time of receipt.
    8                                       SERVICE LIST

    9 Douglas C. Smith, Esq. (State Bar No.160013)
   10 dsmith@smitlaw.com
      SMITH LAW OFFICES, LLP
   11 4001 Eleventh Street
   12 Riverside, California 92501
      Telephone: (951) 509-1355
   13 Facsimile: (951) 509-1356
   14 Attorney for Defendants
      COUNTY OF SAN LUIS OBISPO and IAN PARKINSON
   15
   16
        Joshua M. George, SBN: 244565
   17   george@ammcglaw.com
   18   Chase W. Martin, SBN: 260444
        cmartin@ammcglaw.com
   19   ADAMSKI MOROSKI MADDEN CUMBERLAND
   20   & GREEN LLP
        Mailing Address: Post Office Box 3835
   21   San Luis Obispo, CA 93403-3835
   22   Physical Address: 6633 Bay Laurel Place
        Avila Beach, CA 93424
   23   Telephone: (805) 543-0990
   24   Facsimile: (805) 543-0980
        Attorneys for Defendant, City of San Luis Obispo
   25
   26 CAROLINE WICHMAN
      Email: cmwichman108@yahoo.com
   27 Plaintiff in pro per
   28                                     -2-
                CERTIFICATE OF SERVICE OF MOTION FOR LEAVE TO
                        WITHDRAW AS COUNSEL FOR PLAINTIFF
                              Case No: 2:22-cv-03156
Case 2:22-cv-03156-DMG-RAO Document 45-4 Filed 09/29/22 Page 3 of 3 Page ID #:289



    1
    2 ALISSA HAYKO-LAGIER
      Email: alisalagier@yahoo.com
    3 Plaintiff in pro per
    4
    5
    6      Dated:   September 29, 2022_
    7                                      By:
                                                 David Kaufman
    8                                            Attorney for Plaintiff
                                                 CAROLINE WICHMAN
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               CERTIFICATE OF SERVICE OF MOTION FOR LEAVE TO
                    WITHDRAW AS COUNSEL FOR PLAINTIFF
                            Case No: 2:22-cv-03156
